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AO91 (Rev. 12/03) Criminal Complaint                                                AUSA

                             UNITED STATES DISTRICT COURT

                                          Southern District Of Texas McAllen Division

UNITED STATES OF AMERICA                                              CRIMINAL COMPLAINT
            vs.
                                                                      Case Number: 7:18-po-12242
Jose David GUEVARA-Rivas
AKA Jose David GUEVARA-Reyes
IAE
El Salvador 1995

         I, the undersigned complainant state that the following is true and correct to the best of my
knowledge and belief. On or about September 03, 2018 in                         Hidalgo                County, in
the                            Southern District Of Texas                           defendant(s) did,
Being then and there an alien, did, knowingly and unlawfully enter the United States at a place other
than as designated by immigration officers;




in violation of Title            8          United States Code, Section(s)               1325(a)(1)
I further state that I am a(n)              Border Patrol Agent           and that this complaint is based on the
following facts:
Jose David GUEVARA-Rivas was encountered by Border Patrol Agents near Mission, Texas on
September 04, 2018. When questioned as to his citizenship, defendant stated that he was a citizen
and national of El Salvador, who had entered the United States illegally on September 03, 2018 by
rafting across the Rio Grande River near the Hidalgo, Texas Port of Entry.


I DECLARE UNDER PENALTY OF PERJURY THAT THE STATEMENTS IN THIS
COMPLAINT ARE TRUE AND CORRECT.

Continued on the attached sheet and made a part of this complaint:               Yes            No

                                                                       /S/ Ramirez, Robert Border Patrol Agent
                                                                       Signature of Complainant
                                                                       Ramirez, Robert Border Patrol Agent
                                                                       Printed Name of Complainant
Sworn to before me and signed in my presence,
September 06, 2018                                               at    McAllen, Texas
Date                                                                   City/State

Juan F Alanis                        Magistrate Judge
       Name of Judge                    Title of Judge                                  Signature of Judge
